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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
              v.                            :       CRIMINAL NO. 21-cr-399 (RDM)
                                            :
ROMAN STERLINGOV,                           :
                                            :
                      Defendant.            :

                    GOVERNMENT’S SUPPLEMENTAL NOTICE AND
                   MOTION IN LIMINE TO ADMIT MT. GOX RECORDS

       The United States respectfully files this supplement to the Government’s Notice and

Motion in Limine To Admit Certain Government Exhibits, ECF No. 62, to address the

admissibility of Mt. Gox account records. Because the defendant has never challenged the Mt.

Gox account records in a way that would allow the government to formally respond, the

government files this supplemental notice to address the defendant’s new challenge.

                                         ARGUMENT

       The defendant has not filed any motion to exclude the Mt. Gox account records in this case,

with a proposed order as required under the Local Rules and an opportunity for the government to

respond. Nor did the defendant articulate any opposition to the Mt. Gox account records at all in

his perfunctory 2-page Opposition to the government’s original Notice and Motion in Limine

seeking to admit them. See ECF No. 71. Instead, the defendant raised his opposition for the first

time on June 7, 2023, in a filing to which the government was not even a party—the defendant’s

opposition to non-party Chainalysis’s motion to quash the subpoena ad testificandum to

Chainalysis CEO Michael Gronager, see ECF No. 131, at 1 (asking the Court to “bar any use at

trial of the Mt. Gox data” as a remedy for not being able to call a witness from Chainalysis)—
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depriving the government of an opportunity to respond. In any event, the defendant’s procedurally

improper challenge fails on the law and the facts.

       The standard for authentication under Rule 901 is “minimal.” United States v. Gagliardi,

506 F.3d 140, 151 (2d Cir. 2007). “The threshold for proof of authenticity is low.” Klayman v.

Judicial Watch, Inc., 297 F. Supp. 3d 80, 84 (D.D.C. 2018). The rule merely states that in order

to authenticate evidence, the proponent must “produce evidence sufficient to support a finding that

the item is what the proponent claims it is.” Fed. R. Evid. 901(a).

       Here, the Mt. Gox account records are self-authenticating under Fed. R. Evid. 902.

Whereas Rule 901 presents a non-exhaustive list of ways a proponent could satisfy the rule’s

requirements, Rule 902(a) provides categorically that certain items of evidence “are self-

authenticating” and “require no extrinsic evidence of authenticity in order to be authenticated.”

Fed. R. Evid. 902(a). That rule means what it says: if the proponent has produced certifications

meeting the requirements of any one of the 14 certifications outlined under the rule, then “no

extrinsic evidence of authenticity” is required.      Id.   Here, the government has produced

certifications meeting the requirements of Fed. R. Evid. 902(13) and 902(14). The defendant is

not challenging those certifications. That should be the end of the Court’s analysis.

       The government writes further only to reiterate the legal foundation for the records’

admissibility and to address the defendant’s legally insufficient and factually inaccurate claims of

unspecified errors in the Mt. Gox account records.

       1. Certifications Establish the Authenticity and Admissibility of the Self-
          Authenticating Mt. Gox Account Records Under Fed. R. Evid. 902(13) and
          902(14)

       As outlined in the government’s original filing, ECF No. 62, at 19-22, which is

incorporated by reference herein, the government intends to introduce business records from Mt.

Gox, a former virtual currency exchange that went bankrupt in 2014. Specifically, the government

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intends to admit records for five Mt. Gox accounts with the following usernames: volfprius,

roso987341870, peternfs, kolbasa, and aurumxchange. 1

       The roso987341870 account was the defendant’s true-name account. It was opened in the

name of “Roman Sterlingov,” registered to an address in Gothenburg, Sweden, and includes a copy

of the defendant’s driver’s license that was uploaded to Mt. Gox. See Ex. 1 (Photograph uploaded

to roso987341870 Mt. Gox account). The aurumxchange account corresponds to the Mt. Gox

account held by AurumXchange, another now-defunct virtual currency exchange. The remaining

three accounts, volfprius, peternfs, and kolbasa, are accounts that were used to pay for the domain

registration for the original Bitcoin Fog clearnet domain, www.bitcoinfog.com, which directed

users to the Bitcoin Fog mixing service hosted on the darknet. The evidence at trial will show that

volfprius, peternfs, and kolbasa were controlled by the defendant. For each account, the Mt. Gox

account records contain a “notes.txt” document summarizing the account records, accompanied

by voluminous spreadsheets logging account activity such as “transactions.csv” or “ip_log.csv,” 2


1
  These specific account records have been produced in discovery. Pursuant to a defense request,
the government has offered to allow a designated defense expert to inspect the full Mt. Gox
database in the possession of the U.S. government (without conceding the relevance of any
unrelated Mt. Gox records). The full Mt. Gox database contains potentially thousands of irrelevant
and unrelated third-party account records, including third-party individuals’ personal information,
financial information, identification information, and other sensitive personal information. The
full Mt. Gox database and its contents are designated as SENSITIVE pursuant to the terms of the
Protective Order entered in this case, ECF No. 18, and may not be publicly disseminated or
discussed. The government has specific concerns arising out of defense counsel’s discussion of
SENSITIVE-designated materials in their podcast appearances. See What Bitcoin Did, The Case
of Roman Sterlingov with Tor Ekeland & Mike Hassard, at 39:50, available at
https://www.youtube.com/watch?v=ITiUyFuk1vA (defense counsel describing contents of “a 40
or 50 page report that they had commissioned by, I forget the name of the organization, National
Institute for Cyber Forensics or something like that,” corresponding to a SENSITIVE-designated
report commissioned by the National Cyber-Forensics & Training Alliance (NCFTA) which was
produced in discovery).
2
  CSV or “comma-separated values” is a file format for data that is commonly displayed in
spreadsheet form. See Gaines v. L. Off. of Patenaude & Felix, A.P.C., 2014 WL 3894345, at *1
(S.D. Cal. July 2, 2014) (“CSV . . . is a universal format that is commonly used and is searchable”).

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plus (for roso987341870) a “user_upload_files” folder containing photographs uploaded for proof

of identity and proof of residence. See Ex. 2 (“notes.txt” files for each of the five Mt. Gox

accounts).

       As stated in the government’s original filing:

               The government will introduce records from Mt. Gox, a former virtual
       currency exchange. Mt. Gox operated from 2010 through 2014 until it filed for
       bankruptcy following the loss of hundreds of millions of dollars worth of bitcoin.
       As part of the bankruptcy proceedings, Mt. Gox’s assets and records were
       transferred to the control of a trustee, led by Japanese attorney Kobayashi Nobuaki,
       the head of the Insolvency/Restructuring Practice Group at the Japanese law firm
       Nagashima Ohno & Tsunematsu.
               In 2019, pursuant to a request from the United States, the Tokyo District
       Prosecutors Office obtained from Mr. Nobuaki a 4TB hard drive containing Mt.
       Gox records, including a copy of the Mt. Gox customer database. The assistant
       officer for the Tokyo District Prosecutor’s Office who took possession of the drive
       from Mr. Kobayashi completed a certification of the chain of custody, including
       the date and location of the transfer. Another assistant officer with the Public
       Prosecutors Office then took possession of the drive to make a forensic image of
       the contents. That officer completed another certification noting the transfer in the
       chain of custody and describing the imaging process. The certification, tracking
       the language of Fed. R. Evid. 902(14), indicates that the officer copied the drive
       using standard forensic software and confirmed that the hash value of the image
       matched the hash value of the original. The specific hash value is further noted in
       the certification. These certifications, in both the original Japanese and the English
       translation, are being provided to defense counsel in discovery. The hard drive
       containing the forensic image was then transferred from Japan to the United States,
       where it has been maintained as evidence in FBI custody.
               The Mt. Gox records on the hard drive included a SQL database of Mt. Gox
       customer records. SQL, or “Structured Query Language,” is a computer language
       used for database management. A SQL database is a structured database that is
       commonly used by businesses, including financial institutions, to store records
       pertaining to customer accounts and business activity. SQL databases are made up
       of one or more tables, each of which include rows and columns of data. SQL
       databases allow businesses to efficiently store and organize data. Information
       stored in a SQL database can be viewed by manually viewing the entries in the
       database, or can be retrieved through SQL queries. SQL queries are searches of the
       SQL database for specific search terms. For example, a SQL database query for
       “user x” can produce all of the records for “user x” in the queried SQL Database.
               Law enforcement personnel familiar with the Mt. Gox SQL database
       conducted SQL queries to retrieve records related to the user accounts
       roso987341870, volfprius, peternfs, and kolbasa. Law enforcement has tested these
       SQL database queries for the Mt. Gox SQL database, including by comparing the


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       returns to the raw records in the database, and has confirmed that the retrieved
       information is an accurate reflection of the records in the database. This SQL
       database query is an electronic process that produces an accurate result, within the
       meaning of Fed. R. Evid. 902(13). The government is in the process of obtaining
       a records certification pursuant to Fed. R. Evid. 902(13) to authenticate the resulting
       records from the SQL database query.


ECF No. 62, at 20-21. The government has since produced the records certifications referenced

above to the defense, and is attaching them hereto—including the certification from the Tokyo

District Prosecutor’s Office official who took possession of the Mt. Gox customer database from

the Japanese bankruptcy trustee, attorney Kobayashi Nobuaki, see Ex. 3 (Miyazaki Cert. in

Japanese and English translation); and the certification from FBI Special Agent Kenneth W.

Keller, who used a SQL database query to retrieve the records for the five user accounts that the

government intends to admit at trial: volfprius, roso987341870, peternfs, kolbasa, and

Aurumxchange, see Ex. 4 (Keller Cert.).

       Under Fed. R. Evid. 902(13) and 902(14), these Mt. Gox account records are self-

authenticating. Nothing further is required for authentication, even over defendant’s objection.

The defendant is not challenging the sufficiency of the government’s certifications. Rule 902 is

clear that self-authenticating evidence “require[s] no extrinsic evidence of authenticity in order to

be admitted,” Fed. R. Evid. 902, meaning that as long as the proponent has produced a certification

meeting the requirements of 902(13) or 902(14), that is sufficient in itself to authenticate evidence

even over the opposing party’s objection. See, e.g., United States v. Scott, 2014 WL 2808802, at

*3 (E.D. Va. June 20, 2014) (“The evidence in the present case consists of inscriptions that purport

to have been applied to the items in the course of business and they indicate origin, and thus fall

squarely within Rule 902(7). The Defendant’s assertion that ‘the likelihood of inauthenticity is

much greater with inscriptions indicating solely geographic origins’ makes it so that ‘the reasoning



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supporting Rule 902(7) does not apply to such inscriptions’ cannot be reconciled with the Rule’s

text, which explicitly lists ‘inscription[s] . . . indicating origin’ as self-authenticating. Even if the

risk of inauthenticity for ‘Made in China’ inscriptions is higher than for trademark inscriptions,

the Federal Rules of Evidence have decided that such inscriptions are still sufficiently trustworthy

to be self-authenticating.”). To hold otherwise would convert the methods of self-authentication

listed under Rule 902 into a list of optional stipulations between adverse parties.

            The Mt. Gox account records are computer-generated records and constitute business

records of Mt. Gox (and now of the bankruptcy trustee) that are admissible under the hearsay

exception for regularly conducted activity, pursuant to Fed. R. Evid. 803(6) and 902(11) and 18

U.S.C. § 3553. Cf. ECF No. 73, at 25-27 (addressing admissibility of blockchain records under

hearsay exception and as computer-generated non-hearsay). Thus, they are self-authenticating,

relevant and admissible records. The Court should rule in limine that such records can be admitted

at trial.

            2. The Defendant’s Generalized, Multiple-Hearsay Allegations Go to the Weight of
               the Evidence and Not Authenticity

            The defendant has challenged the authenticity of the Mt. Gox account records the

government intends to introduce at trial. The defendant’s sole basis for challenging these records

appears to be a passage in the book Tracers in the Dark by WIRED journalist Andy Greenberg,

which vaguely suggests, through multiple layers of hearsay, that data identifying the

“counterparty” in certain trading records was deleted when Mt. Gox was hacked in 2014. See ECF

No. 131, at 5-6 (block-quoting Tracers in the Dark). The defendant has offered no further

explanation about how this unverified, multiple-hearsay allegation about the general deletion of

Mt. Gox account records casts doubt on the five specific customer account records at issue in this




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case. In any event, the defendant’s argument goes to the weight of the evidence at trial; it is

irrelevant to the threshold question of authenticity.

       It is well-established that the standard for authentication is “minimal.” Gagliardi, 506 F.3d

at 151; see also United States v. Fluker, 698 F.3d 988, 999 (7th Cir. 2012) (“Only a prima facie

showing of genuineness is required; the task of deciding the evidence’s true authenticity and

probative value is left to the jury.”); United States v. Jardina, 747 F.2d 945, 951 (5th Cir. 1984)

(“When confronted with evidence of questionable origin, the court should admit the evidence if a

prima facie showing of authenticity is made. . . . ‘Once a prima facie case is made, the evidence

goes to the jury and it is the jury who will ultimately determine the authenticity of the evidence,

not the court.’”) (quoting United States v. Goichman, 547 F.2d 778, 784 (3d Cir. 1976)); United

States v. Vidacak, 553 F.3d 344, 349 (4th Cir. 2009) (“The factual determination of whether

evidence is that which the proponent claims is ultimately reserved for the jury. . . . The burden to

authenticate under Rule 901 is not high—only a prima facie showing is required.”). Rule 901

requires only that “the proponent must produce evidence sufficient to support a finding that the

item is what the proponent claims it is.” Fed. R. Evid. 901(a) (emphasis added). As the D.C.

Circuit has explained, this means that, in deciding the admissibility of disputed records, “the

question is not whether the government conclusively proved their authenticity,” but “only whether

the government's showing permitted a reasonable juror to find that the evidence is what its

proponent claims.” United States v. Khatallah, 41 F.4th 608, 623 (D.C. Cir. 2022) (affirming

admission of disputed telephone records over defendants’ claims of error and inconsistency in

records) (citations omitted). Once the government has met its threshold burden under Rule 901,

the defendant’s arguments “go to the weight of the evidence—not to its admissibility.” Id. (citation

omitted; emphasis in original); see also United States v. Ortiz, 776 F.3d 1042, 1045 (9th Cir. 2015)



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(“Once the offering party meets this burden, the probative value of the evidence is a matter for the

jury.”) (citation omitted).

           As a preliminary matter, the defendant’s arguments about the accuracy of the Mt. Gox

account records do not actually address the actual question of authenticity, namely, whether “the

item is what the proponent claims it is.” Fed. R. Evid. 901(a). Here, the government is claiming

the Mt. Gox account records to be introduced at trial are authentic Mt. Gox account records

obtained from the Japanese bankruptcy trustee. Nothing about the defendant’s allegations tends

to disprove that the Mt. Gox account records produced in discovery and intended to be admitted

at trial are anything other than an authentic copy of records obtained from the Japanese bankruptcy

trustee.

           Further, the party seeking admission is not obligated to disprove any question about the

accuracy or integrity of the underlying records in order to secure their admission. For example, in

United States v. Safavian, 435 F. Supp. 2d 36 (D.D.C. 2006), Judge Friedman rejected a similar

challenge to the authentication of email records which, the defense claimed, could have been

altered. See id. at 39-42. Judge Friedman began by restating the minimal threshold burden for

authentication: “the Court need not find that the e-mails are necessarily what the proponent claims,

only that there is evidence sufficient for the jury to make such a finding.” Id. at 39. After finding

that the emails could be authenticated through examination of distinctive characteristics and

comparison to specimens otherwise authenticated, 3 id. at 40-41, he rejected the defense challenge

based on the possibility of alteration:

           The defendant’s argument is more appropriately directed to the weight the jury
           should give the evidence, not to its authenticity. While the defendant is correct that
           earlier e-mails that are included in a chain—either as ones that have been forwarded

3
  Notably, the emails at issue in Safavian were not self-authenticating, see 435 F. Supp. 2d at 39,
in contrast to the Mt. Gox business records at issue here.

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       or to which another has replied—may be altered, this trait is not specific to e-mail
       evidence. It can be true of any piece of documentary evidence, such as a letter, a
       contract or an invoice. . . . The possibility of alteration does not and cannot be the
       basis for excluding e-mails as unidentified or unauthenticated as a matter of course,
       any more than it can be the rationale for excluding paper documents (and copies of
       those documents). . . . The defendant is free to raise this issue with the jury and put
       on evidence that e-mails are capable of being altered before they are passed
       on. Absent specific evidence showing alteration, however, the Court will not
       exclude any embedded e-mails because of the mere possibility that it can be done.

Id. at 41. The ruling in Safavian is consistent with decisions in the D.C. Circuit and elsewhere.

See, e.g., United States v. Sandoval, 709 F.2d 1553, 1554-55 (D.C. Cir. 1983) (affirming admission

of tape recordings over defense objection that recordings could have been altered, explaining: “The

standard for authentication is that the possibilities of misidentification and adulteration must be

eliminated, not absolutely, but as a matter of reasonable probability”) (citations and alterations

omitted); Gagliardi, 506 F.3d at 151 (affirming admission of emails and chats over defense

objection that they could have been edited or fabricated, explaining: “The proponent need not rule

out all possibilities inconsistent with authenticity, or to prove beyond any doubt that the evidence

is what it purports to be”) (citations omitted).

       Indeed, the 2017 amendments to Rule 902 anticipate this exact scenario, and confirm that

authentication of self-authenticating records pursuant to the new Rules 902(13) and 902(14) is

separate from any challenge to the reliability of the underlying data:

       A certification under this Rule can establish only that the proffered item has
       satisfied the admissibility requirements for authenticity. The opponent remains free
       to object to admissibility of the proffered item on other grounds—including
       hearsay, relevance, or in criminal cases the right to confrontation. For example,
       assume that a plaintiff in a defamation case offers what purports to be a printout of
       a webpage on which a defamatory statement was made. Plaintiff offers a
       certification under this Rule in which a qualified person describes the process by
       which the web page was retrieved. Even if that certification sufficiently establishes
       that the webpage is authentic, defendant remains free to object that the statement
       on the webpage was not placed there by defendant. Similarly, a certification
       authenticating a computer output, such as a spreadsheet, does not preclude an



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       objection that the information produced is unreliable—the authentication
       establishes only that the output came from the computer.

Fed. R. Evid. 902(13), advisory committee note to 2017 amendment.

       Here, as in Safavian, the defendant has not offered any “specific evidence” about alleged

alterations of the five Mt. Gox account records actually at issue in this case. At most, the quoted

passage from Tracers in the Dark suggests that the names of some “counterpart[ies]” might have

been deleted from Mt. Gox databases. But the defendant has not identified missing “counterparty”

information in any of the five customer account records at issue here. Indeed, the defendant points

to no specific inaccuracies or missing information from these five accounts at all. Distilled to its

essence, the defendant’s argument is nothing more than the claim that if a bank or other financial

institution has suffered any kind of computer intrusion—a phenomenon that occurs with

unfortunate frequency these days—then customer account records from that financial institution

cannot be authenticated. There is no legal authority for such a restrictive rule.

       3. Additional Corroboration by Email Records and Blockchain Transaction
          Records Show There Was No Deletion of the Relevant Mt. Gox Account Records

       Any further doubt about the authenticity of the Mt. Gox account records should be dispelled

by the government’s ability to corroborate those records with email transaction confirmations

received by the defendant himself and by verifying the recorded transactions against the public

Bitcoin blockchain. See, e.g., Khatallah, 41 F.4th at 623 (relying in part on fact that “witness

testimony corroborated that certain calls documented in the records actually were made by or to

Khatallah”); Safavian, 435 F. Supp. 2d at 40 (relying in part on comparison with “specimens which

have been otherwise authenticated” including “those e-mails that already have been independently

authenticated under Rule 901(b)(4)”).

       For example, one of the key sequences of transactions in this case involves the defendant

depositing 89.87 euros into his Mt. Gox account on October 11, 2011, converting those funds into

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Bitcoin, and then sending 36 Bitcoin to an unhosted wallet on October 19, 2011. Those funds

were transferred through a number of intermediary accounts and ultimately were used to pay the

registration fees for Bitcoin Fog’s clearnet website, www.bitcoinfog.com.

          Mt. Gox account records 4 show the deposit of 89.87 euros credited to the defendant’s Mt.

Gox account, roso987341870, as of 10/12/2011 at 2:08 a.m. (time zone is not specified):


    USER_ID                 USER_WALLET      INDEX        TIME                TYPE        AMOUNT
                            19e6110a-57ac-
    908f8fe5-d8bb-4e7b-     4a9a-97a9-
    a7e9-d1120c78b5b7       21b08d966f27     6            10/12/2011 2:08     deposit     89.87

    BALANCE    MEMO          IP_ADDRESS      REFERENCE_TYPE       REFERENCE             CURRENCY
               STERLINGO
               V,ROMAN
               MTG92441
               X                                                  [a55cd645-8397-
               /I05P11277                                         4cb2-81e5-
    90.14867   160170        50.97.137.36    Money_Bank_Entry     576551a36eaa]         EUR


The defendant received a confirmation email dated 10/11/2011 at 10:08 p.m. (time zone not

specified) at his plasma@plasmadivision.com email address. The confirmation email shows the

same 89.87 euro deposit with a matching transaction “reference” number (beginning a55cd645).

These details independently confirm and corroborate the accuracy of the Mt. Gox account records:




4
  The Mt. Gox customer account records at issue consist of spreadsheets and certain additional
files, such as the photograph of the defendant’s driver’s license uploaded to Mt. Gox for KYC
purposes. The excerpts in this filing are exact copies of relevant spreadsheet entries, subject to
minimal formatting to fit to the width of the page.

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Next, Mt. Gox account records show that the defendant withdrew 36 Bitcoin from his Mt. Gox

account on October 19, 2011 at 12:29 p.m. (time zone not specified). The 36 Bitcoin was sent to

an unhosted Bitcoin wallet address beginning “1JzbuKkq”:


 USER_ID           USER_WALLET              INDEX     TIME               TYPE        AMOUNT
 908f8fe5-d8bb-
 4e7b-a7e9-        6949ad0d-4ebe-4bbf-
 d1120c78b5b7      bf43-c8c5d3799056        80        10/19/2011 12:29   withdraw    36

 BALANCE      MEMO      IP_ADDRESS        REFERENCE_TYPE            REFERENCE       CURRENCY
              Bitcoin
              withdraw                                              [41d901c435
              to                                                    0e53dee523a
              1JzbuKkqx                                             7327eda94e7
              oK6yZFi9T                                             c39647cb7b1
              aCHC778U                                              0eae87a576a
 7.93386033   2NQyJtrg  89.20.136.214     Money_Bitcoin_Block_Tx    86ef9fdf3d]     BTC


The defendant received a confirmation email on October 19, 2011 at 8:29 a.m. (time zone not

specified) at his plasma@plasmadivision.com email address. The confirmation email shows that

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there was a “withdrawal” with a matching transaction “reference” number (beginning 2a848a90)

that occurred on October 19, 2011 at 12:29:43 GMT, i.e. Greenwich Mean Time or Universal

Coordinated Time (UTC). Again, the confirmation email confirms and corroborates the accuracy

of transactional information contained in the Mt. Gox account records:




The October 19, 2011 transaction is also recorded on the Bitcoin blockchain, 5 showing that on

October 19, 2011, at approximately 12:41 p.m. UTC, 36 Bitcoin was received by the Bitcoin wallet

address beginning “1JzbuKkq”:




5
  The attached Bitcoin blockchain transaction records are from the publicly available blockchain
explorer mempool.space. The same blockchain records are viewable using numerous other
publicly available blockchain explorers, as well as proprietary blockchain analysis software. In
all instances, the ultimate source of transaction data is the publicly available distributed ledger
known as the Bitcoin blockchain.

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From there, the Bitcoin was rapidly transferred through a second unhosted address before being

deposited back into Mt. Gox in the account belonging to the user peternfs. Specifically, blockchain

records show that on the same day, at approximately 21:16 UTC, the Bitcoin wallet “1JzbuKkq”

sent these funds minus transaction fee, amounting to 35.9995 Bitcoin, to a second Bitcoin wallet

with address beginning “14RzfWf9”:




At approximately 21:47 UTC the same day, Bitcoin wallet “14RzfWf9” sent these funds minus

transaction fees, amounting to 35.9990 Bitcoin, to yet another Bitcoin address beginning

“1HvkjK2L”:




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On the same date, Mt. Gox account records for the peternfs account record a deposit of 35.9990

Bitcoin into the account on October 19, 2011 at 22:45 UTC from the Bitcoin wallet “1HvkjK2L”:


 USER_ID           USER_WALLET            INDEX         TIME                 TYPE      AMOUNT
 a16d5abe-2308-
 469e-baf7-        80f0d667-2567-42dc-
 274cc4177ff9      844a-b3dbd985e147      3             10/19/2011 22:45     deposit   35.999

 BALANCE    MEMO       IP_ADDRESS     REFERENCE_TYPE                 REFERENCE     CURRENCY
                                                                     [0fc05ba1866f
            1HvkjK2L                                                 4f648f57a04e
            2Hy6CF1                                                  43cb44b345cb
            3KgpcWz                                                  efee3414bb02
            vfVQfRKu                                                 d3773613b5a
 35.999     nbWq       50.97.137.36   Money_Bitcoin_Block_Tx_Out     bfc53:0]      BTC

       In other words, the audit trail from the defendant’s true-name account (roso987341870) to

the first of his alias accounts (peternfs) is confirmed through email confirmations and publicly

available blockchain records. Similar analysis applies to other transactions. There are no missing

“counterpart[ies],” nor are there any other indications of data deletion from the five Mt. Gox

accounts at issue. Thus, even if the government were required to go beyond the requirements of

Fed. R. Evid. 901(a) and the self-authenticating certifications provided for by Fed. R. Evid.

920(13) and 902(14), the external corroboration provided by the defendant’s own email records


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and the Bitcoin blockchain would be more than sufficient “to support a finding” that the Mt. Gox

account records “[are] what the proponent claims [they are].” Fed. R. Evid. 901(a).

                                        CONCLUSION

       For the foregoing reasons, the defendant’s challenge to the Mt. Gox account records should

be rejected, and the Court should rule that they are authenticated and admissible at trial over the

defendant’s objection.



                                             Respectfully submitted,
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